                  Case 1:14-cv-03823-MHC Document 6 Filed 03/18/15 Page 1 of 2




                               IN THE UNITED STATES DISTRICT COURT
                              FOR THE NORTHERN DISTRICT OF GEORGIA
                                        ATLANTA DIVISION

              TRACY WALKER,
                              Plaintiff,                   CIVIL ACTION FILE NO.
                  v.                                       1:14-CV-03823-MHC-JFK
              PORTFOLIO RECOVERY
              ASSOCIATES, LLC,
                              Defendant.


                            ORDER ADMINISTRATIVELY CLOSING CASE

                   The Court has been advised by the Plaintiff that the parties have settled the

             above-styled action, but the formal documentation of settlement has not been

             concluded. Therefore, it is not necessary that the action remain on the Court’s

             calendar.

                   It is hereby ORDERED that the action is ADMINISTRATIVELY CLOSED

             with the right of any party, anytime within the next sixty (60) days, to move to reopen

             this action or vacate this order.

                   It is further ORDERED that the Court retains jurisdiction to vacate this order

             administratively closing this action and to reopen the action, if necessary. If the action

             has not been reopened or the Court has not received a motion to vacate on or before




AO 72A
(Rev.8/82)
                  Case 1:14-cv-03823-MHC Document 6 Filed 03/18/15 Page 2 of 2




             the time permitted by this Order, the Clerk is DIRECTED to dismiss the action with

             prejudice.

                   Let a copy of this order be served upon counsel for the parties.

                   IT IS SO ORDERED, this 18th day of March, 2015.




                                                      2




AO 72A
(Rev.8/82)
